Case 9:23-cr-80101-AMC Document 301 Entered on FLSD Docket 02/10/2024 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                 CASE NO. 23-80-1010-CR-CANNON


    UNITED STATES OF AMERICA,

                            v.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVIERA,

                            Defendants.


                                         NOTICE OF FILING

         Defendants Donald J. Trump, Waltine Nauta, and Carlos De Oliveira hereby give notice

  that their Classified Supplement to their Reply (ECF No. 300) in support of their January 16, 2024

  Motion to Compel (ECF No. 262) was filed under seal with the Court by delivering a copy to the

  Classified Information Security Officer (“CISO”) on February 9, 2024. An unclassified cover

  sheet for the notice is attached hereto.




                                  [SIGNATURE BLOCK NEXT PAGE]




                                                  1
Case 9:23-cr-80101-AMC Document 301 Entered on FLSD Docket 02/10/2024 Page 2 of 3




   Dated: February 10, 2024            Respectfully submitted,

                                        s/ Stanley E. Woodward, Jr.
                                       Stanley E. Woodward, Jr. (pro hac vice)
                                       Brand Woodward Law, LP
                                       400 Fifth Street NW, Suite 350
                                       Washington, DC 20001
                                       202.996.7447 (telephone)
                                       202.996.0113 (facsimile)
                                       stanley@brandwoodwardlaw.com

                                        s/ Sasha Dadan
                                       Sasha Dadan (Fla. Bar No. 109069)
                                       Dadan Law Firm, PLLC
                                       201 S. 2nd Street, Suite 202
                                       Fort Pierce, Florida 34950
                                       772.579.2771 (telephone)
                                       772.264.5766 (facsimile)
                                       sasha@dadanlawfirm.com

                                       Counsel for Defendant Waltine Nauta




                                        2
Case 9:23-cr-80101-AMC Document 301 Entered on FLSD Docket 02/10/2024 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 10, 2024, I electronically submitted the foregoing, via

  CM/ECF, to counsel of record.

                                                       Respectfully submitted,

                                                        s/ Sasha Dadan
                                                       Sasha Dadan (Fla. Bar No. 109069)
                                                       Dadan Law Firm, PLLC
                                                       201 S. 2nd Street, Suite 202
                                                       Fort Pierce, Florida 34950
                                                       772.579.2771 (telephone)
                                                       772.264.5766 (facsimile)
                                                       sasha@dadanlawfirm.com

                                                       Counsel for Defendant Waltine Nauta
